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                  EXHIBIT 14
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                                                                       1
 1                     UNITED STATES DISTRICT COURT

 2          NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION

 3     -----------------------------------x

 4     APPLE INC., a California            :

 5     Corporation,                        :

 6                             Plaintiffs, :

 7     v.                                  :

 8     SAMSUNG ELECTRONICS CO., LTD, a     :   Civil Action No.

 9     Korean corporation; SAMSUNG         :   12-cv-00630-LKH (PSG)

10     ELECTRONICS AMERICA, INC., a New    :

11     York corporation; and SAMSUNG       :

12     TELECOMMUNICATIONS AMERICA, LLC, a :

13     Delaware limited liability company.:

14                             Defendants. :

15     -----------------------------------x

16    (Caption continued on next page.)

17
18               Videotaped Deposition of ULRICH PFEIFER

19                          London, England, UK

20                   Sunday, July 14, 2013, 9:05 a.m.

21
22
23    Job No.: 40646

24    Pages: 1 - 259

25    REPORTED BY:    SUSAN A. McINTYRE, RPR, CRR, QRR.
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                                                                  43
 1     Mischaracterizes the witness's previous testimony.              09:53:38
 2                     THE WITNESS:   I could not for all              09:53:44
 3     versions.    So there are some symbolic names which             09:53:46
 4     look like version numbers, but some also have                   09:53:50
 5     indications that they were trial releases.         I did        09:53:53
 6     not exhaustively test if any of the symbols                     09:53:57
 7     corresponds directly to any of the distributions.               09:54:01
 8     BY MR FURMAN:                                                   09:54:03
 9                Q.   When you say "any of the symbols,"              09:54:03
10     is that also the markers that you said that                     09:54:06
11     indicate version numbers?                                       09:54:08
12                A.   Yes.   So the markers -- okay.                  09:54:11
13                     The file version numbers can be                 09:54:15
14     tagged with names.     This is what I meant.                    09:54:19
15                Q.   But you never conclusively                      09:54:23
16     determined whether or not those file markers                    09:54:27
17     actually were correlated to the release version                 09:54:29
18     number, is that correct?                                        09:54:32
19                A.   I don't recall having linked                    09:54:35
20     completely one symbolic marker to a distribution;               09:54:41
21     yes.                                                            09:54:44
22                Q.   So just so I'm clear, so you cannot             09:54:56
23     conclusively correlate which particular versions                09:55:12
24     in the CVS repository correlate to a particular                 09:55:17
25     version of the released freeWAIS-sf, is that                    09:55:20

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                                                                44
 1     correct?                                                      09:55:22
 2                     MR JAFFE:   Objection.                        09:55:23
 3     Mischaracterizes the witness's previous testimony.            09:55:24
 4     Asked and answered.                                           09:55:26
 5                     THE WITNESS:   I cannot reconstruct           09:55:36
 6     -- or I did not successfully reconstruct the                  09:55:39
 7     distribution from these symbolic names.                       09:55:43
 8     BY MR FURMAN:                                                 09:55:46
 9                Q.   Besides using the symbolic names,             09:55:47
10     was there another manner that you used to                     09:55:50
11     reconstruct particular distribution or any                    09:55:52
12     particular distribution?                                      09:55:55
13                A.   There's one specific version, and             09:55:56
14     that is the code 2.0.65.       This is the version            09:56:01
15     I left behind me more or less when I left the                 09:56:09
16     university.     And what I did was I got that version         09:56:13
17     from the Internet, from copies I could still find,            09:56:25
18     and I verified that each file in that distribution            09:56:30
19     I found on the Internet is one of the versions in             09:56:34
20     the CVS repository.     So what I found is the code           09:56:39
21     that is in my repository.                                     09:56:44
22                Q.   When you say you got a copy from the          09:56:48
23     Internet, when was that?                                      09:56:50
24                A.   That copy, either January this year           09:56:57
25     or late December last year.                                   09:57:01

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                                                                45
 1               Q.   Did you provide a copy of that                 09:57:05
 2     source code that you acquired from the Internet to            09:57:08
 3     your attorneys at Quinn Emanuel?                              09:57:11
 4               A.   Yes, I did.                                    09:57:12
 5               Q.   Do you know if that software has               09:57:15
 6     been produced in this litigation?                             09:57:18
 7               A.   Sorry, you were very low volume,               09:57:23
 8     that last word.                                               09:57:25
 9               Q.   I apologize.                                   09:57:25
10                    Do you know if that source code has            09:57:27
11     been produced in this litigation?                             09:57:29
12               A.   I handed it to Quinn Emanuel.                  09:57:32
13     I can't tell if it was introduced or not by them.             09:57:34
14               Q.   The CVS repository that you were               09:57:43
15     talking about, as a first matter, when did you                09:57:48
16     find that?                                                    09:57:51
17               A.   Most probably in December; if not,             09:58:03
18     it was January.                                               09:58:07
19               Q.   As you testified earlier, CVS                  09:58:12
20     repository has many versions of many files, is                09:58:15
21     that correct?                                                 09:58:18
22               A.   That is correct.                               09:58:18
23               Q.   When you performed the correlation             09:58:20
24     between the version that you found on the Internet            09:58:24
25     of freeWAIS-sf and the versions contained in the              09:58:28

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                                                                46
 1     CVS repository, is there any indication in the CVS            09:58:36
 2     repository as to which versions of the many files             09:58:40
 3     correspond to the version that you found on the               09:58:44
 4     Internet?                                                     09:58:46
 5               A.   I can't be sure that there is no               09:58:48
 6     indication, but what I did was the other way                  09:58:49
 7     around:   I checked the files I found on the                  09:58:52
 8     Internet, if they are contained.                              09:58:54
 9               Q.   So it's your understanding sitting             09:58:59
10     here right now that you could not look at the CVS             09:59:03
11     repository and pick the particular versions of                09:59:06
12     each file that made it into the distribution that             09:59:08
13     you found on the Internet?                                    09:59:11
14                    MR JAFFE:   Objection.                         09:59:12
15     Mischaracterizes the witness's previous testimony.            09:59:13
16                    THE WITNESS:    I'm not sure I can't.          09:59:16
17     In the time I spent on it I didn't do that or                 09:59:21
18     I didn't successfully do that.                                09:59:24
19     BY MR FURMAN:                                                 09:59:26
20               Q.   Did you try to do that?                        09:59:27
21               A.   I tried it but there were different            09:59:29
22     copies of the CVS repository and I didn't -- well,            09:59:34
23     it was '97, I didn't remember the specific                    09:59:39
24     histories of these different repositories.         So         09:59:44
25     there were too many combinations.                             09:59:47

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                                                                49
 1     where -- strike that.                                         10:02:57
 2                       Do you know where --                        10:02:58
 3                       You testified there were at least           10:03:00
 4     four servers where they found a copy of                       10:03:01
 5     freeWAIS-sf.       Do you know where the server               10:03:04
 6     administrators found that copy of the freeWAIS-sf             10:03:07
 7     source code?                                                  10:03:11
 8                 A.    I don't know it for the fact but the        10:03:12
 9     most likely source is that these were mirrors of              10:03:14
10     the departmental site at the University of                    10:03:19
11     Dortmund.                                                     10:03:22
12                 Q.    You said that it was "most likely"          10:03:33
13     that these were mirrors of the departmental site              10:03:53
14     of the University of Dortmund, so you don't know              10:03:56
15     that for sure, is that correct?                               10:03:59
16                 A.    I can't know that for a fact, but           10:04:00
17     I think that is the most likely source of these               10:04:05
18     files.                                                        10:04:11
19                       MR JAFFE:   I'll just add an                10:04:12
20     objection.       Asked and answered.                          10:04:14
21     BY MR FURMAN:                                                 10:04:40
22                 Q.    You mentioned that you believe that         10:04:40
23     the version of freeWAIS-sf that you found on the              10:04:44
24     Internet was 2.0.65, is that correct?                         10:04:46
25                 A.    Sixty-five, yes, that is correct.           10:04:53

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                                                                50
 1                Q.   Do you have in your possession a              10:04:55
 2     copy of the source code for freeWAIS-sf 2.0.65?               10:05:05
 3                A.   I don't have an exact copy of what            10:05:13
 4     was released then, I only have the CVS                        10:05:16
 5     repositories.                                                 10:05:21
 6                Q.   Do you have any way of verifying              10:05:23
 7     that the version that you found on the Internet is            10:05:24
 8     exactly the same as the released version of                   10:05:26
 9     2.0.65?                                                       10:05:32
10                A.   Okay, there is no -- in my opinion            10:05:47
11     there is no doubt, because the four servers                   10:05:52
12     I found the releases on agreed on the                         10:05:58
13     distribution.    I think it's very unlikely that the          10:06:00
14     administrators collaborated to put something else             10:06:04
15     there.    And I was able to track down each file in           10:06:07
16     my CVS repository, so there was no code added or              10:06:10
17     removed.    So I'm very confident that the                    10:06:15
18     distribution I found is that that was originally              10:06:20
19     released.                                                     10:06:24
20                Q.   Did you speak to any of the server            10:06:26
21     administrators?                                               10:06:29
22                A.   No, I did not.                                10:06:30
23                Q.   So you don't know that there was no           10:06:31
24     type of collaboration between them?                           10:06:33
25                     MR JAFFE:   Objection.                        10:06:36

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 1     Argumentative.                                                10:06:37
 2                     THE WITNESS:   I can't know that.             10:06:40
 3     I don't know even who the administrators are.                 10:06:42
 4     BY MR FURMAN:                                                 10:06:46
 5                Q.   So you have no understanding as to            10:06:47
 6     why they posted that source code on the servers,              10:06:49
 7     correct?                                                      10:06:52
 8                     MR JAFFE:   Objection.                        10:06:55
 9     Mischaracterizes the witness's previous testimony.            10:06:57
10                     THE WITNESS:   Yeah, I think before           10:07:00
11     we discussed if they could have collaborated to               10:07:01
12     change the distribution after the fact and -- can             10:07:07
13     you repeat the question?                                      10:07:13
14     BY MR FURMAN:                                                 10:07:15
15                Q.   Do you know why the administrators            10:07:16
16     of those servers you found are hosting copies of              10:07:17
17     the freeWAIS-sf source code?                                  10:07:21
18                A.   I don't know it for the fact, but             10:07:27
19     back then, at least, mirroring -- I think it is               10:07:30
20     still a good practice to mirror well-used and                 10:07:33
21     systems in high demand to -- on different servers             10:07:39
22     to reduce the load on the original servers.                   10:07:43
23                Q.   When was version 2.0.65 of                    10:07:49
24     freeWAIS-sf released?                                         10:07:53
25                A.   In my recollection -- no, not "in my          10:08:01

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 1     could you download the freeWAIS-sf distribution,               15:28:34
 2     set up a local database, open the WAIS client,                 15:28:37
 3     search that local WAIS database as well as search              15:28:41
 4     another WAIS database?                                         15:28:46
 5                     MR FURMAN:   Objection.    Calls for           15:28:47
 6     speculation.    Incomplete hypothetical.                       15:28:49
 7                     THE WITNESS:   Yes.                            15:28:54
 8     BY MR JAFFE:                                                   15:28:55
 9                Q.   Could you search the local WAIS                15:28:56
10     database as well as a WAIS database located over               15:28:57
11     the Internet?                                                  15:29:01
12                A.   Yes.                                           15:29:01
13                     MR FURMAN:   Objection.    Calls for           15:29:02
14     speculation.    Incomplete hypothetical.                       15:29:05
15     BY MR JAFFE:                                                   15:29:07
16                Q.   When you selected the local WAIS               15:29:07
17     database and the remote WAIS database that was                 15:29:10
18     over the Internet, and you typed in a search term,             15:29:12
19     would it search both databases at once?                        15:29:14
20                     MR FURMAN:   Objection.    Calls for           15:29:17
21     speculation.    Incomplete hypothetical.                       15:29:18
22                     THE WITNESS:   For the user,                   15:29:21
23     apparently at once.     In reality -- the technical            15:29:22
24     reality -- one thing has to be done before the                 15:29:25
25     other.                                                         15:29:26

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 1     BY MR JAFFE:                                                   15:29:27
 2                Q.   If it found results on, well, both             15:29:27
 3     the local WAIS server and the remote WAIS server,              15:29:31
 4     would it return them to the user so that it                    15:29:35
 5     displayed at the same time?                                    15:29:38
 6                     MR FURMAN:   Objection.    Calls for a         15:29:40
 7     legal conclusion.       Incomplete hypothetical.    Calls      15:29:41
 8     for speculation.                                               15:29:46
 9                     THE WITNESS:   Yes, the both answer            15:29:46
10     sets, as we called it, would be displayed at the               15:29:50
11     same time.                                                     15:29:53
12     BY MR JAFFE:                                                   15:29:53
13                Q.   Okay.   You can put that document to           15:29:54
14     the side.                                                      15:29:56
15                     You mentioned you had a CVS                    15:29:58
16     repository that contained source code, correct?                15:30:02
17                A.   Yes.                                           15:30:07
18                Q.   What is a CVS repository?                      15:30:07
19                     MR FURMAN:   Objection.    Vague.              15:30:10
20                     THE WITNESS:   A CVS repository is             15:30:12
21     used by developers to archive different versions               15:30:14
22     of files they use in the development environment.              15:30:19
23     BY MR JAFFE:                                                   15:30:23
24                Q.   Did you use the CVS repository while           15:30:23
25     you were working on freeWAIS-sf?                               15:30:26

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 1                     MR FURMAN:     Objection.   Vague.             15:30:29
 2                     THE WITNESS:     Yes, it was used in           15:30:30
 3     the development phase.                                         15:30:33
 4     BY MR JAFFE:                                                   15:30:35
 5                Q.   When did you archive -- how often              15:30:35
 6     did you archive a particular version of                        15:30:37
 7     freeWAIS-sf?                                                   15:30:40
 8                     MR FURMAN:     Objection.   Misstates          15:30:41
 9     his prior testimony.        Vague.                             15:30:43
10                     MR JAFFE:     Strike that question.            15:30:47
11     BY MR JAFFE:                                                   15:30:47
12                Q.   Did you archive versions of                    15:30:49
13     freeWAIS-sf using the CVS repository?                          15:30:50
14                     MR FURMAN:     Objection.   Misstates          15:30:53
15     his prior testimony.        Vague.                             15:30:55
16                     THE WITNESS:     So I used it to make          15:30:57
17     sure that I don't lose any version of a file.                  15:30:58
18     BY MR JAFFE:                                                   15:31:03
19                Q.   Okay.                                          15:31:04
20                A.   So I could check in after I made a             15:31:04
21     significant change, before I do the next                       15:31:07
22     significant change.      It could also be that I just          15:31:13
23     made a distribution and want to make sure that                 15:31:15
24     everything in there is covered.                                15:31:18
25                Q.   Would you regularly archive if you             15:31:20

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 1     just made a distribution --                                    15:31:25
 2                     MR FURMAN:   Objection.    Vague.              15:31:26
 3     BY MR JAFFE:                                                   15:31:28
 4                Q.   -- in the CVS repository of a                  15:31:29
 5     version of freeWAIS-sf?                                        15:31:32
 6                     MR FURMAN:   Objection.    Vague.              15:31:32
 7     Calls for speculation.                                         15:31:33
 8                     THE WITNESS:   My procedure back then          15:31:34
 9     was to make sure that everything released was in               15:31:36
10     the repository.                                                15:31:40
11     BY MR JAFFE:                                                   15:31:42
12                Q.   So when you first released version             15:31:42
13     2.0.65 of freeWAIS-sf, do you recall putting it in             15:31:47
14     your CVS repository after it was released?                     15:31:52
15                A.   I don't recall that specifically               15:32:00
16     because this was created, as we discussed before,              15:32:01
17     in the phase of the hand-over between WSC and our              15:32:05
18     team, my team.     So I distributed the changes as             15:32:12
19     patches because I was expecting them to take over              15:32:18
20     the CVS repository.                                            15:32:22
21                Q.   But based on your practice of making           15:32:24
22     sure that a released copy of distributions of                  15:32:26
23     freeWAIS-sf were put in your CVS repository, do                15:32:31
24     you believe that you put in the version of                     15:32:35
25     freeWAIS 2.0.65 that was released to the public                15:32:41

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 1     into your CVS repository?                                       15:32:44
 2                     MR FURMAN:     Objection.   Calls for           15:32:46
 3     speculation.                                                    15:32:47
 4                     THE WITNESS:     I did put it in                15:32:47
 5     eventually.     That's what we talked before.        So         15:32:49
 6     I verified that all files are in there, so ...                  15:32:53
 7     BY MR JAFFE:                                                    15:32:57
 8                Q.   Have you made any changes -- when               15:32:58
 9     you put a distribution into your CVS repository,                15:33:01
10     did you make any changes to that distribution                   15:33:04
11     that's stored in your CVS repository --                         15:33:07
12                     MR FURMAN:     Objection.   Vague.              15:33:10
13     BY MR JAFFE:                                                    15:33:12
14                Q.   -- after you put it in?                         15:33:12
15                     MR FURMAN:     Objection.   Vague.              15:33:13
16                     THE WITNESS:     No.   The CVS                  15:33:15
17     repository is meant to be right -- not only the                 15:33:18
18     right ones, so it's supposed to not lose any                    15:33:21
19     version.                                                        15:33:27
20     BY MR JAFFE:                                                    15:33:27
21                Q.   When you located the source code for            15:33:28
22     freeWAIS version 2.0.65 -- strike that.                         15:33:30
23                     When you compared the files --                  15:33:35
24     strike that as well.                                            15:33:45
25                                                                     15:33:45

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 1                     Where did you find your CVS                    15:33:47
 2     repository when you were searching -- when you                 15:33:49
 3     were using -- strike that question.        I'm sorry.          15:33:55
 4                     Can you explain the process that you           15:33:56
 5     used to compare the version of freeWAIS 2.0.65                 15:33:59
 6     that you found on the Duisburg site, which is the              15:34:05
 7     university's FTP site that Professor Fuhr is                   15:34:13
 8     currently in, when you compared those files to the             15:34:19
 9     files in your CVS repository?                                  15:34:21
10                     MR FURMAN:   Objection.    You're              15:34:24
11     testifying.     Incomplete hypothetical.     Calls for         15:34:25
12     speculation.    Vague.                                         15:34:28
13                     THE WITNESS:   So the process I used           15:34:32
14     is:   I had the CVS repository.      I unpacked the            15:34:33
15     distribution for 2.0.65.       I went through all the          15:34:37
16     files in the distribution and looked at the                    15:34:45
17     corresponding file in the CVS repository.         The          15:34:51
18     corresponding file contains all the versions.                  15:34:55
19     Then I produced all the different versions and                 15:34:58
20     compared it to the file in the distribution and                15:35:02
21     looked for the file that matched closely or the                15:35:06
22     most close.                                                    15:35:14
23     BY MR JAFFE:                                                   15:35:15
24                Q.   And your conclusion was that all the           15:35:15
25     files on the FTP server on the Dortmund University             15:35:18

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 1     were located in your CVS repository?                           15:35:22
 2                     MR FURMAN:   Objection.    Calls for           15:35:27
 3     speculation.                                                   15:35:29
 4     BY MR JAFFE:                                                   15:35:29
 5                Q.   For the freeWAIS version 2.0.65?               15:35:29
 6                A.   I was able to locate all the files             15:35:35
 7     with the exact representation with the one caveat              15:35:37
 8     that the CVS, when you check in, is expanding                  15:35:41
 9     certain keywords.       So there is a keyword called           15:35:44
10     $Log$, so when you check in something you give it              15:35:50
11     a message and that message would be added to a                 15:35:54
12     comment in the source file.                                    15:35:56
13                Q.   Based on that comparison, were there           15:35:58
14     any changes to the source code that were made --               15:36:02
15     were there any differences between the content of              15:36:10
16     the source code for the freeWAIS version 2.0.65 in             15:36:11
17     your repository versus the freeWAIS version 2.0.65             15:36:15
18     on the Duisburg server?                                        15:36:21
19                     MR FURMAN:   Objection.    Calls for           15:36:24
20     speculation.                                                   15:36:25
21                     THE WITNESS:   There were no                   15:36:25
22     differences, material differences, except this                 15:36:26
23     comment enhancements that were made automatically.             15:36:30
24     BY MR JAFFE:                                                   15:36:33
25                Q.   Okay.   And the common enhancements            15:36:34

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 1     have nothing to do with the content of the source              15:36:35
 2     code?                                                          15:36:37
 3                A.   No, it would not affect the                    15:36:37
 4     functionality of it.                                           15:36:40
 5                Q.   Putting aside the comparison, have             15:36:41
 6     you made -- are you confident that the source code             15:36:46
 7     that exists in your CVS repository for a                       15:36:50
 8     particular time was archived at that time after a              15:36:54
 9     release -- strike that question.                               15:37:00
10                     Putting aside the comparison that              15:37:05
11     you made and putting aside the existence of                    15:37:08
12     freeWAIS 2.0.65 code on other servers, when you                15:37:11
13     archive code for freeWAIS 2.0.65 are you confident             15:37:15
14     that when you archived it in your CVS repository,              15:37:19
15     that was the version that was released?                        15:37:23
16                     MR FURMAN:   Objection.    Vague.              15:37:26
17     Calls for speculation.       Incomplete hypothetical.          15:37:27
18                     THE WITNESS:   What I did archive was          15:37:30
19     certain versions of the files in the distribution,             15:37:32
20     and I found all the file versions in the                       15:37:35
21     distribution in the CVS repository.                            15:37:40
22     BY MR JAFFE:                                                   15:37:42
23                Q.   Did you look at the source code in             15:37:43
24     your CVS repository for freeWAIS version 2.0.65?               15:37:46
25                A.   Yeah, I looked at the source code --           15:37:51

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 1     at parts of the source code, it's many, many                   15:37:55
 2     lines.    I looked at some key areas and it looked             15:37:58
 3     like I would expect it to look.       So it was                15:38:02
 4     familiar.    What I saw was familiar.                          15:38:06
 5                Q.   So are the reasons that you believe            15:38:08
 6     that the code in your CVS repository for 2.0.65                15:38:11
 7     was the version that was released is because you               15:38:17
 8     didn't change your code for the CVS repository and             15:38:20
 9     you looked at it and, looking at it, it seemed                 15:38:23
10     like the same code that you originally had written             15:38:26
11     for freeWAIS version 2.0.65?       Isn't that correct?         15:38:29
12                     MR FURMAN:   Objection.    Misstates           15:38:34
13     his prior testimony.                                           15:38:35
14                     THE WITNESS:   I think what you are            15:38:40
15     asking is did I modify the CVS repository after                15:38:41
16     I checked-in the files.      That I didn't do.     CVS is      15:38:46
17     not meant for that.                                            15:38:51
18     BY MR JAFFE:                                                   15:38:53
19                Q.   It's meant to archive code?                    15:38:53
20                A.   It's meant to archive, so ...                  15:38:55
21                Q.   You have been -- you studied                   15:38:58
22     information retrieval when you were working on                 15:39:02
23     your masters, correct?                                         15:39:06
24                A.   It was in the field of information             15:39:09
25     retrieval, yes.                                                15:39:10

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 1                Q.   You worked on information retrieval,            15:39:11
 2     you worked in that field while you were at                      15:39:14
 3     Dortmund University, correct?                                   15:39:17
 4                A.   Yes, I did.                                     15:39:18
 5                Q.   Do you have an understanding of what            15:39:19
 6     the term "juristic" means?                                      15:39:21
 7                     MR FURMAN:    Objection.   Calls for a          15:39:23
 8     legal conclusion.                                               15:39:25
 9                     Counsel, I'm just going to caution              15:39:26
10     you, you've introduced a number of new exhibits                 15:39:28
11     but have also indicated that the witness has to                 15:39:30
12     leave in 20 minutes.      I would like to reserve time          15:39:32
13     to ask him questions on the new evidence you've                 15:39:35
14     introduced, otherwise we're going to have to call               15:39:38
15     him back, probably in the United States, to                     15:39:40
16     continue the deposition.                                        15:39:42
17                     MR JAFFE:    Well, first of all, I'll           15:39:51
18     just put on the record that it was originally                   15:39:52
19     asked that we start the deposition at 8.00, you                 15:39:54
20     requested nine o'clock.                                         15:39:56
21     BY MR JAFFE:                                                    15:39:58
22                Q.   That is completely incorrect.      Send         15:39:59
23     me a copy of the e-mail that indicated we --                    15:40:01
24                     MR JAFFE:    It was informal.                   15:40:06
25                     MR FURMAN:    I have no recollection            15:40:08

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